Case 4:07-cv-05944-JST Document 2553-11 Filed 04/30/14 Page 1 of 3




        ATTACHMENT 19
             Case 4:07-cv-05944-JST Document 2553-11 Filed 04/30/14 Page 2 of 3
§ 62:3.Contract principles—Arbitration, 3 International Contract Manual § 62:3




                                              3 International Contract Manual § 62:3

                                                    International Contract Manual
                                                 Database updated December 2013
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                                                          Chapter 62. Japan
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 § 62:3. Contract principles—Arbitration

  In most agreements in Japan, contracting parties usually include a clause in their agreement that stipulates that, if a dispute
  should arise between them with regard to the right and duties provided in the contract, the parties will confer in good faith
  and settle the dispute harmoniously through consultation. Where disputes cannot be so settled, the parties of the contract need
  to select between litigation and arbitration to resolve disputes.
  On August 1, 2003, the Arbitration Act was enacted and took effect on March 1, 2004, which was modeled on the Model
  Act on International Commercial Arbitration. The act applies to arbitration conducted within Japanese jurisdiction.
  Responding to the criticism that arbitral proceedings in Japan could be lengthy as well as quite costly, the Arbitration Act
  had adopted the improvised proceeding, 1 which does not necessarily require formal oral proceedings.
  An arbitral award entered in Japan is accorded the same effect as a final and non-appealable judgment by a court and, except
  for specified situations listed in the Arbitration Act, including, but not limited to, where an agreement to choose arbitration
  is declared void, a notice of arbitration was not received by a party or an award is against good order and morals pursuant to
  Article 44 of the Arbitration Act, which also provides for other grounds for setting aside an arbitral award, can be enforced
  upon obtaining an enforcement order from a court. Even when an arbitral award is rendered outside of Japanese jurisdiction,
  there is no difference; it is still enforceable upon obtaining a court order. Although Japan had ratified the U.N. Convention on
  the Recognition and Enforcement of Foreign Arbitral Awards, 2 with regard to the enforcement of an arbitral award, pursuant
  to Article 7 of the treaty, it has been interpreted that the Arbitration Act will precede over this treaty. 3
  Comment:
  When the parties of a contract wish to provide for arbitration, it is important to carefully delineate the mechanism by which
  the arbitration is to be conducted. In contracts between U.S. and Japanese parties, the common approach is to state that either
  party may initiate proceedings by notice to the other party requesting arbitration in accordance with the Japan-American
  Trade Arbitration Agreement of September 15, 1952. In this event, the arbitration will be conducted in accordance with the
  Commercial Arbitration Rules promulgated by the Japan Commercial Arbitration Treaty. If the parties would prefer different
  rules, they may state their preferred rules in their contract and provide that if the rules to be applied under the Japan-American
  Trade Arbitration Agreement are in any respect inconsistent with the provisions of the agreement between the parties, the
  provisions of the agreement shall apply.

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Footnotes
*      Kenichi Nakano is a partner at Anderson Mori & Tomotsune, whose practice is focused on providing legal advice on activities
       required to conduct business in Japan, including such matters as establishment of a business presence in Japan, advising on regulatory
       requirements, preparing IT service agreements, rules of employment, and joint venture agreements. Mr. Nakano advises financial
       institutions in the areas of real estate trust law, the FSA inspection process, and inter-bank transactions. He also represents clients in



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            Case 4:07-cv-05944-JST Document 2553-11 Filed 04/30/14 Page 3 of 3
§ 62:3.Contract principles—Arbitration, 3 International Contract Manual § 62:3


       various types of litigation involving patent, copyright, real estate, financial futures, labor, and commercial transactions issues. See,
       http://www.amt-law.com/.
1      In this procedure, both sides of parties are expected, through oral discussion, to present their allegations and documentary evidence
       in detail, clarify the scope of their admissions and denials of both of the facts alleged by the opponent, and of the authenticity of the
       documentary evidence produced by the opponent.
2      Signed at New York on June 10, 1958.
3      See, e.g., Tatsuya Nakamura, Learning the Arbitration Act through Q&A [Chusaihou Naruhodo Q&A]] 201 (Chuokeizaisha 2004).


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